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 1                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO
 2
 3
 4        UNITED STATES OF AMERICA,

 5        Plaintiff

 6        v.                                              CRIMINAL 08-175 (ADC)
 7
          [2] JOSÉ A. IRIZARRY-TORRES,
 8
          Defendant
 9
10
                    MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
11               RE: RULE 11(c)(1)(A) & (B) PROCEEDINGS (PLEA OF GUILTY)
12
     I.        Personal Background
13
               On May 7, 2008, José A. Irizarry-Torres, the defendant herein, was charged
14
     in a seven-count indictment.       He agrees to plead guilty to count one of the
15
     indictment.
16
               Count one charges that from a date unknown, but no later than in or about
17
     the year 2005, and continuing up to and until the return of the instant indictment,
18
     that is, May 7, 2008, in the Municipality of Ponce, District of Puerto Rico, and
19
     within the jurisdiction of this court, José A. Irizarry-Torres, and other persons, did
20
     knowingly and intentionally conspire, combine, and agree with each other and with
21
     diverse other persons known and unknown to the Grand Jury, to commit an offense
22
     against the United States, that is, to knowingly and intentionally possess with intent
23
     to distribute and/or to distribute controlled substances, to wit: in excess of one
24
     kilogram of heroin, a Schedule I, Narcotic Controlled Substance; and/or in excess of
25
     50 grams of cocaine base, a Schedule II, Narcotic Controlled Substance; and/or in
26
     excess of five kilograms of cocaine, a Schedule II, Narcotic Controlled Substance;
27
     and/or in excess of 100 kilograms of marijuana, a Schedule I, Controlled Substance;
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 3
     within 1,000 feet of the real property comprising a public or private school, as
 4
     prohibited by 21 U.S.C. §§ 841(a)(1) and 860. All in violation of 21 U.S.C. § 846.
 5
            The United States and the defendant stipulated for purposes of this agreement
 6
     that this defendant shall be accountable for conspiring to possess with the intent to
 7
     distribute at least 35 grams but less than 50 grams of cocaine base.
 8
            II.   Consent to Proceed Before a Magistrate Judge
 9
            On November 3, 2008, while assisted by Francisco Adams Quesada, Esq., the
10
     defendant, by consent, appeared before me in order to change his previous not guilty
11
     plea to a plea of guilty as to count one of the indictment.
12
            In open court the defendant was questioned as to the purpose of the hearing
13
     being held. The defendant responded that the purpose of the hearing was to plead
14
     guilty. The defendant was advised of his right to have all proceedings, including the
15
     change of plea hearing, before a United States district judge. Defendant was given
16
     notice of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries
17
     were to be conducted under oath and that it was expected that his answers would
18
     be truthful (he was also explained that the consequences of lying under oath could
19
     lead to a perjury charge); and (c) his right to have the change of plea proceedings
20
     presided over by a district judge instead of a magistrate judge. The defendant was
21
     also explained the differences between the appointment and functions of the two.
22
     The defendant consent to proceed before this magistrate judge.
23
     III.   Proceedings Under Rule 11, Federal Rules of Criminal Procedure
24
            A. Compliance With Requirements Rule 11(c)(1)
25
                  Rule 11 of the Federal Rules of Criminal Procedure governs the
26          acceptance of guilty pleas to federal criminal violations. Pursuant to
            Rule 11, in order for a plea of guilty to constitute a valid waiver of the
27          defendant’s right to trial, guilty pleas must be knowing and voluntary:
            “Rule 11 was intended to ensure that a defendant who pleads guilty
28          does so with an ‘understanding of the nature of the charge and
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           consequences of his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4
 4         (1st Cir. 1995) (quoting McCarthy v. United States, 394 U.S. 459, 467
           (1969)). [There are three core concerns in these proceedings]: 1)
 5         absence of coercion; 2) understanding of the charges; and 3) knowledge
           of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
 6         F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st
           Cir. 1991)).
 7
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
 8
           In response to further questioning, defendant was explained and he
 9
     understood that if convicted on count one, based on the amount of narcotics
10
     stipulated between the parties, he may be sentenced to a minimum term of
11
     imprisonment of five years and a maximum of 80 years, a fine not to exceed
12
     $2,000,000, and a term of supervised release of at least eight years.
13
           Defendant shall pay a special monetary assessment of $100, per offense of
14
     conviction, pursuant to 18 U.S.C. § 3013(a).
15
           The defendant is aware that the court may order him to pay a fine sufficient
16
     to reimburse the government for the costs of any imprisonment, probation or
17
     supervised release; that the court may impose restitution to the victim; and that as
18
     part of this plea agreement, if the court do impose restitution, the defendant agrees
19
     to produce complete information regarding all restitution victims and defendant
20
     agrees to execute a financial statement to the United States.
21
           Defendant was advised that the ultimate sentence was a matter solely for the
22
     court to decide in its discretion and that, even if the maximum imprisonment term
23
     and fine were to be imposed upon him, he later could not withdraw his guilty plea
24
     if he was unhappy with the sentence of the court. The defendant understood this.
25
           Defendant was explained what the supervised release term means. It was
26
     emphasized that cooperation with the United States Probation officer would assist
27
     the court in reaching a fair sentence.
28
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 3
           Emphasis was made on the fact that at this stage, no prediction or promises
 4
     as to the sentence to be imposed could be made by anyone. Defendant responded to
 5
     questions in that no promises, threats, inducements or predictions as to what
 6
     sentence will be imposed have been made to him.
 7
           B. Admonishment of Constitutional Rights
 8
           To assure defendant’s understanding and awareness of his rights, defendant
 9
     was advised of his right:
10
           1.   To remain silent at trial and be presumed innocent, since it is the
11
     government who has the burden of proving his guilt beyond a reasonable doubt.
12
           2.   To testify or not to testify at trial, and that no comment could be made by
13
     the prosecution in relation to his decision not to testify.
14
           3.   To a speedy trial before a district judge and a jury, at which he would be
15
     entitled to see and cross examine the government witnesses, present evidence on his
16
     behalf, and challenge the government’s evidence.
17
           4.   To have a unanimous verdict rendered by a jury of twelve persons which
18
     would have to be convinced of defendant’s guilt beyond a reasonable doubt by means
19
     of competent evidence.
20
           5.   To use the subpoena power of the court to compel the attendance of
21
     witnesses.
22
           Upon listening to the defendant’s responses, observing his demeanor and his
23
     speaking with his attorney, that to the best of counsel’s belief defendant had fully
24
     understood his rights, it is determined that defendant is aware of his constitutional
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     rights.
26
27
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           C. Consequences of Pleading Guilty
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           Upon advising defendant of his constitutional rights, he was further advised
 5
     of the consequences of pleading guilty. Specifically, defendant was advised that by
 6
     pleading guilty and upon having his guilty plea accepted by the court, he will be
 7
     giving up the above rights and would be convicted solely on his statement that he is
 8
     guilty.
 9
           Furthermore, the defendant was admonished of the fact that by pleading guilty
10
     he would not be allowed later on to withdraw his plea because he eventually might
11
     disagree with the sentence imposed, and that when he were under supervised
12
     release, and upon violating the conditions of such release, that privilege could be
13
     revoked and he could be required to serve an additional term of imprisonment. He
14
     was also explained that parole has been abolished.
15
           D. Plea Agreement
16
           The parties have entered into a written plea agreement that, upon being signed
17
     by the government, defense attorney and defendant, was filed and made part of the
18
     record. Defendant was clearly warned and recognized having understood that:
19
           1.   The plea agreement is not binding upon the sentencing court.
20
           2.   The plea agreement is an “agreement” between the defendant, defense
21
     attorney and the attorney for the government which is presented as a
22
     recommendation to the court in regards to the applicable sentencing adjustments
23
     and guidelines, which are advisory.
24
           3.   The agreement provides a sentencing recommendation and/or anticipated
25
     sentencing guideline computation, that can be either accepted or rejected by the
26
     sentencing court.
27
28
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 3
           4.   In spite of the plea agreement and any sentencing recommendation
 4
     contained therein, the sentencing court retains full discretion to reject such plea
 5
     agreement and impose any sentence up to the possible maximum penalty prescribed
 6
     by statute.
 7
           5.   The defendant understands that if the court accepts this agreement and
 8
     sentences defendant according to its terms and conditions, defendant waives and
 9
     surrenders his right to appeal the conviction and sentence in this case.
10
           The defendant does not qualify for the Safety Valve provision.
11
           E. Government's Evidence (Basis in Fact)
12
           The government presented a proffer of its evidence with which the defendant
13
     basically concurred.
14
           Accordingly, it is determined that there is a basis in fact and evidence to
15
     establish all elements of the offense charged.
16
           F. Voluntariness
17
           The defendant accepted that no leniency had been promised, no threats had
18
     been made to induce him to plead guilty and that he did not feel pressured to plead
19
     guilty. He came to the hearing for the purpose of pleading guilty and listened
20
     attentively as the prosecutor outlined the facts which it would prove if the case had
21
     proceeded to trial.
22
     IV.   Conclusion
23
           The defendant, by consent, has appeared before me pursuant to Rule 11,
24
     Federal Rules of Criminal Procedure, and has entered a plea of guilty as to count one
25
     of the indictment.
26
           After cautioning and examining the defendant under oath and in open court,
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     concerning each of the subject matters mentioned in Rule 11, as described in the
28
     preceding sections, I find that the defendant José A. Irizarry-Torres, is competent
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     to enter this guilty plea, is aware of the nature of the offense charged and the
 4
     maximum statutory penalties that the same carries, understands that the charge is
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     supported by the government’s evidence, has admitted to every element of the
 6
     offense charged, and has done so in an intelligent and voluntary manner with full
 7
     knowledge of the consequences of his guilty plea.
 8
           Therefore, I recommend that the court accept the guilty plea of the defendant
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     and that the defendant be adjudged guilty as to count one of the indictment. After
10
     sentencing, the government will move the court to dismiss the remaining counts of
11
     the indictment.
12
           This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B)
13
     and Rule 72(d) of the Local Rules of Court. Any objections to the same must be
14
     specific and must be filed with the Clerk of Court within five (5) days of its receipt.
15
     Rule 510.1, Local Rules of Court; Fed. R. Civ. P. 72(b). Failure to timely file specific
16
     objections to the report and recommendation is a waiver of the right to review by the
17
     district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
18
           At San Juan, Puerto Rico, this 6th day of November 2008.
19
20                                                S/ JUSTO ARENAS
                                         Chief United States Magistrate Judge
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